
Mr. Justice Strong-
delivered the opinion of the court:
We agree with the Court of Claims that the service rendered by the plaintiff’s testator was not the apprehension of John H. Surratt, for which the War Department had offered a reward of $25,000, but giving information that conduced to the arrest. These are quite distinct things, though one may have been a, consequence of the other. The proclamation of the Secretary of War treated them as different, and while a reward of $25,000' was offered for the apprehension, the offer for information was only a “ liberal reward.” The findings of the Court of Claims also exhibit a clear distinction between making the arrest and giving the information that led to it. It is found as a fact that the arrest was not made by the claimant, though the discovery and arrest was due entirely to the diclosures made by him. The plain meaning of this is that Surratt’s apprehension was a consequence of the disclosures made. But the consequence of a man’s act are not his acts. Between the consequence and the disclosure that leads to it there may be, and in this case there were, intermediate agencies. Other’persons than the claimant made the arrest, persons who were not his agents, and who themselves were entitled to the proffered reward for his arrest, if any persons were. We think, therefore, that at most the claimant was entitled to the “ liberal reward” promised for information conducing to the arrest, and that reward he has received.
But if this were not so, the judgment given by the Court of." Claims is correct.
*367The offer of a reward for the apprehension of Siirratt was revoked on the 24th day of November, 1865, and notice of revocation was published. It is not to be doubted that the offer was revocable at any time before it was accepted, and before anything had been done in reliance upon it. There was no contract until its terms were complied with. Like any other offer of a contract, it might, therefore, be withdrawn before rights had accrued under it, and it was withdrawn through the same channel in which it was made. The same notoriety was given to the revocation that was given to the offer. And the findings of fact do not show that any information was given by the claimant, or that he did anything to entitle him to the'reward offered, until five months after the offer had been withdrawn. True, it is found that then, and at all times until the arrest was actually made, he was ignorant of the withdrawal, but that is an immaterial fact. The offer of the reward not having been made to him directly, but by means of a published proclamation, he should have known that it could be revoked in the manner in which it was made.
The judgment is affirmed.
